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UNITED sTATEs DISTRICT CoURT FF~Y»W "“1"§" M\§lr. D.C.
WESTERN DIsTRICT oF TENNESSEE l
Western Division 05 JUL l 8 Pi"i li= 20
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UN!TED STATES oF AMERICA " ;j.,; ;`H,;;:JH`;S"'
_vs_ Case No. 2:05cr20239-B
CALVIN MoNRoE

 

ORDER OF TEMPORARY DETENTION
PENDING HEARINGl PURSUANT TO
BAIL REFORM ACT

Upon motion of the Government, it is ORDERED that a detention hearing is set for
THURSDAY, JULY 21, 2005 at 2:45 P.M. before United States Magistrate Judge S. Thomas
Anderson in Courtroom M-3, Ninth Floor, United States Courthouse and F ederal Building, 167
North Main, Mernphis, TN TN. Pending this hearing, the defendant shall be held in custody by the
United States Marshal and produced for the hearing.

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DIANE K. VESCOVO
UNITED STATES MAGISTRATE JUDGE

 

'Ir` not held immediately upon defendants first appearance, the hearing may be continued for up to three days upon
motion of the govemment, or up to five days upon motion of the defendant lS U.S.C. § 3142(f`)(2).

A hearing is required whenever the conditions set forth in l 8 U.S.C. § 3142(1‘] are present. Subsection (l) sets forth
the grounds that may be asserted only by the attorney for the government subsection (2) states that a hearing is mandated
upon the motion of the attorney for the government or upon the judicial officer's own motion, if there is a serious risk that the
defendant (a) will flee or (b) will obstruct or attempt to obstruct j usti ce, or threaten, inj ure, or intimidate or attempt to threaten,
injure, or intimidate a prospective witness or juror.

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with F\ule 55 and/or 32(b) FF\CrP on

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 8 in
case 2:05-CR-20239 Was distributed by faX, mail, or direct printing on
July 19, 2005 to the parties listed.

 

 

PDA

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Honorable J. Breen
US DISTRICT COURT

